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                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


DEEP SOUTH TODAY, d/b/a VERITE
NEWS, GANNETT CO., INC., GRAY
LOCAL MEDIA, INC., NEXSTAR MEDIA,
INC., SCRIPPS MEDIA INC., and TEGNA
INC.,
                                                CASE NO. 3:24-cv-00623
                      Plaintiffs,
                                                COMBINED OPPOSITION TO
       v.                                       DEFENDANTS’ MOTION TO DISMISS
                                                AND REPLY IN FURTHER SUPPORT OF
LIZ MURRILL, in her official capacity as        PLAINTIFFS’ MOTION FOR A
Attorney General of Louisiana, ROBERT P.        PRELIMINARY INJUNCTION
HODGES, in his official capacity as
Superintendent of the Louisiana State Police,
and HILLAR C. MOORE, III, in his official
capacity as District Attorney of East Baton
Rouge Parish,

                      Defendants.


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                                 SUMMARY OF ARGUMENT

       Every state faces an obligation to ensure both the public’s safety and the free exercise of

First Amendment rights, including the “undoubted right to gather news.” Turner v. Lieutenant

Driver, 848 F.3d 678, 688 (5th Cir. 2017) (citation omitted). Louisiana is one of just two states

that, upsetting that balance, has enacted “a twenty-five-foot forcefield” within peace officers may

order members of the public—including journalists engaged in lawful newsgathering—to leave

for any reason or for no reason at all. Reps. Comm. for Freedom of the Press v. Rokita

(Reporters Committee), No. 1:23-cv-1805, 2024 WL 4333137, at *11 (S.D. Ind. Sept. 27, 2024).

Only Louisiana’s law is in effect as of this filing, because a federal court in Indiana recently

concluded that an identical law passed in that state was “void for vagueness and therefore

unconstitutional,” id. at *10.

       This Court should do the same. Under the plain text of La. R.S. 14:109 (hereinafter “HB

173” or the “Act”), the press and public may “stand on a public sidewalk” in Louisiana “only at

the whim of any police officer,” Shuttlesworth v. City of Birmingham, 382 U.S. 87, 90 (1965)—a

result that violates both the First Amendment and the Due Process Clause under settled Supreme

Court and Circuit precedent. Remarkably, rather than dispute the conclusion that the Act cedes

authority to restrain the exercise of First Amendment rights to the “moment-to-moment judgment

of the policeman on his beat,” Kolender v. Lawson, 461 U.S. 352, 360 (1983) (citation omitted),

Defendants choose to embrace it. The crux of their opposition brief is that standardless

discretion is, in their view, just “the reality of law enforcement,” ECF No. 30-1 at 25

(hereinafter, “Defs.’ Opp.”), and that “reasonable prosecutorial triage” will spare Plaintiffs

reporters’ the threat of arrest and imprisonment under a law that—by its plain terms—

criminalizes First Amendment activity they engage in every day, id. at 6.




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       But that is not how our Constitution works. The Supreme Court has squarely held that a

dispersal-order statute that “does not provide any guidance to the officer deciding whether such

an order should issue” is invalid. City of Chicago v. Morales, 527 U.S. 41, 62 (1999). And

whether the issue is Plaintiffs’ standing to challenge HB 173 or the merits of their challenge, the

First Amendment does not license a federal court to “uphold an unconstitutional statute merely

because the Government promise[s] to use it responsibly,” United States v. Stevens, 559 U.S.

460, 462 (2010); the suggestion that officials “will act in good faith and adhere to standards

absent from the ordinance’s face . . . is the very presumption that the doctrine forbidding

unbridled discretion disallows,” City of Lakewood v. Plain Dealer Publ’g Co., 486 U.S. 750, 770

(1988). Instead, where only “unbridled discretion in a government official over whether to

permit or deny expressive activity” stands between a plaintiff and the loss of their rights, id. at

755, “courts must entertain an immediate facial attack on the law,” id. at 759. Waiting for

“[p]roof of an abuse of power” in a “particular case” would only serve to inflict an irreparable

chill on vital newsgathering and speech. Thornhill v. Alabama, 310 U.S. 88, 97 (1940).

        That black-letter rule controls here. To safeguard the exercise of First Amendment

rights in Louisiana—including Plaintiffs’ right to gather the news and inform the public about

the work of law enforcement—Plaintiffs respectfully urge this Court to deny Defendants’ motion

to dismiss and enter a preliminary injunction against enforcement of HB 173.

                                           ARGUMENT

I.     This Court has jurisdiction to consider Plaintiffs’ challenge to HB 173.

       Because the merits of this case are straightforward, see Reporters Committee, 2024 WL

4333137, at *11, Defendants lodge a grab-bag of objections to reaching them, the thrust of which

is that the Act “has never actually been enforced against Plaintiffs” by these Defendants, Defs.’

Opp. at 6. That description fits, by definition, every pre-enforcement challenge to a statute’s


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constitutionality. But see Holder v. Humanitarian Law Project, 561 U.S. 1, 16 (2010) (finding

standing to bring “as-applied preenforcement challenge” to statute that had never been enforced

against plaintiffs); Virginia v. Am. Booksellers Ass’n, 484 U.S. 383, 392–93 (1988) (finding

standing to bring “pre-enforcement facial challenge” to statute not yet in effect). Plaintiffs are

already being injured by the Act—injuries that would be redressed by restraining Defendants

from enforcing the law against them—and they are entitled to seek just that relief in this Court.

       A.      Plaintiffs’ constitutional challenges to the Act are ripe.

       Defendants first couch their objection that the Act “has never actually been enforced

against Plaintiffs” as a ripeness issue. Defs.’ Opp. at 6. To the extent the label matters, see

Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157 n.5 (2014) (noting that ripeness and

Article III standing “boil down to the same question” in pre-enforcement challenges (internal

citation omitted)), the requirements of ripeness “are easily satisfied here,” id. at 167 (so holding

in as-applied pre-enforcement challenge under the First Amendment); see also Reporters

Committee, 2024 WL 4333137, at *7 (challenge to identical law in identical posture was ripe).

       The analysis of that issue starts with the hardship of denying Plaintiffs prompt review—a

question that largely duplicates the injury inquiry for purposes of standing. If Plaintiffs can

obtain review only after the Act is enforced against them, they will be “forc[ed] to choose

between refraining from core political speech on the one hand,” by obeying an unconstitutional

order that prevents them from gathering the news, or “risking . . . criminal prosecution on the

other[.]” Susan B. Anthony List, 573 U.S. at 168. But both the Supreme Court and Fifth Circuit

have made clear that a plaintiff need not “bet the farm” or risk being “arrested in connection with

violating [a] statute” that, by its terms, regulates them in order to obtain judicial review—even

when the statute has “never been applied.” Seals v. McBee, 898 F.3d 587, 592 (5th Cir. 2018)




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(internal citation omitted); see also Reporters Committee, 2024 WL 4333137, at *3 (plaintiffs

need not have received an order under identical Indiana law to bring pre-enforcement challenge).

       After all, the fact “that the ordinance applies only if triggered does not attenuate

[Plaintiffs’] likelihood of prosecution under [it] or subvert the concreteness of [Plaintiffs’]

chilling injury,” because “when one cannot know what triggers the ordinance such that it will be

enforced, he may fairly assume that it can and will always be enforced.” Bell v. Keating, 679

F.3d 445, 455 (7th Cir. 2012). As Plaintiffs explain in their declarations, because officers might

or might not—at their sole discretion—opt to trigger the prospect of criminal liability any time

Plaintiffs’ journalists approach, the Act already requires them to change their behavior and

discourages them from covering events that can only be documented from within 25 feet. See

Decl. of Richard Erbach (“Erbach Decl.”), ECF No. 19-1 ¶¶ 7–9; Decl. of Patrick Thomas

(“Thomas Decl.”), ECF No. 19-1 ¶¶ 13, 17; Decl. of Curtis Sprang (“Sprang Decl.”), ECF No.

19-1 ¶ 16; Decl. of Jazmin Thibodeaux Chretien (“Thibodeaux Decl.”), ECF No. 19-1 ¶ 10.

       The second prong of the ripeness inquiry—whether further factual development would be

necessary—is likewise straightforward. Here, all of the questions presented by Plaintiffs’ claims

are “purely legal.” Roark & Hardee LP v. City of Austin, 522 F.3d 533, 545 (5th Cir. 2008).

Whether the statute is void for vagueness, for instance, turns exclusively on its text, as the

federal district court in Indiana underlined in striking down that state’s identical law. See

Reporters Committee, 2024 WL 4333137, at *11. The question whether the Act violates the

First Amendment on its face likewise has nothing to do with the facts of any individual

enforcement action. See Freedom Path, Inc. v. Internal Rev. Serv., 913 F.3d 503, 508 (5th Cir.

2019) (“On a facial challenge, however, we do not look beyond the text.”).




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       Measuring HB 173’s constitutionality against a proposed course of conduct for Plaintiffs’

as-applied claim—asking, in other words, “is there a legally sufficient basis for [Defendants] to

place a burden on [P]laintiffs’ First Amendment rights?”—likewise “presents a legal question[.]”

Blitch v. City of Sidell, 260 F. Supp. 3d 656, 663 (E.D. La. 2017). The Seventh Circuit’s

decision in American Civil Liberties Union of Illinois v. Alvarez, 679 F.3d 583 (7th Cir. 2012), is

instructive because it also involved an as-applied pre-enforcement challenge predicated on a

proposed course of newsgathering about law enforcement performing their duties in public.

There, the court found no need for any factual development to determine that the government has

no legitimate interest in prohibiting proposed newsgathering that “will be otherwise lawful—that

is, not disruptive of public order or safety, and carried out by people who have a legal right to be

in a particular public location and to watch and listen to what is going on around them.” Id. at

606. The same holds true here.1 Plaintiffs’ constitutional challenges to the Act are ripe.

       B.      Plaintiffs have standing to challenge the Act.

       That the Act was not enforced against Plaintiffs before they brought a pre-enforcement

challenge is likewise unpersuasive when repackaged as a standing argument. See Reporters

Committee, 2024 WL 4333137, at *3 (finding standing to bring pre-enforcement challenge to

identical law in an identical posture). Plaintiffs have standing to bring each of their claims.




1       Despite their insistence that this Court needs more facts, Defendants never identify or
explain what facts they think would be relevant to evaluating the Act’s constitutionality. And to
the extent Defendants would like a richer record supporting their assertion that the Act passes
constitutional muster, it was their burden to develop one. See Garden Dist. Book Shop, Inc. v.
Stewart, 184 F. Supp. 3d 331, 337–38 (M.D. La. 2016) (even in preliminary-injunction posture,
“the State bears the burden of proving” that a statute survives the relevant degree of First
Amendment scrutiny); Ashcroft v. Am. C.L. Union, 542 U.S. 656, 666 (2004) (same).

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              i.       Plaintiffs have standing to bring a facial First Amendment claim.

       Plaintiffs’ standing to bring a facial First Amendment challenge to the Act is

straightforward. Fifth Circuit precedent makes clear that “[i]t is not hard to sustain standing for a

pre-enforcement challenge in the highly sensitive area of public regulations governing bedrock

political speech,” Speech First, Inc. v. Fenves, 979 F.3d 319, 331 (5th Cir. 2020), that no history

of enforcement against anyone is required, see id. at 336, and that “the mere existence of an

allegedly vague and broad [law] can be sufficient injury to support standing,” id. (internal

citation omitted). Thus it is Defendants’ burden to identify “compelling contrary evidence” that

the Act will not be enforced if its text even arguably covers Plaintiffs’ proposed course of

conduct—which it its plain text does. Id. But Defendants carefully refrain from arguing that

Plaintiffs will not be arrested and prosecuted if, in the course of newsgathering, they do not stay

more than 25 feet away from a law enforcement officer; on the contrary, Defendants strenuously

insist the Act has no “exception for newsgathering,” Defs. Opp. at 25, and the most reassurance

they offer is that Defendant Moore may prosecute Plaintiffs’ reporters but will not “prioritize”

doing so, Decl. of Hillar Moore (“Moore Decl.”), ECF No. 30-3 ¶ 11. (Defendants Murrill and

Hodges make no such representations.) Moore’s “non-committal promise” does not counter the

chilling effect of the Act’s facial sweep. Seals, 898 F.3d at 593; see also, e.g., Turtle Island

Foods, S.P.C. v. Strain, 65 F.4th 211, 218 (5th Cir. 2023) (non-binding non-enforcement

promises insufficient to defeat pre-enforcement standing).

        Defendants dispute none of the applicable legal standards, see Defs.’ Opp. at 9–10; they

argue only that Plaintiffs’ conduct is not even arguably covered by the Act because it does not

mention “recording, photographing, interviewing, monitoring, or otherwise observing peace

officers.” Defs. Opp. at 10. But the course of conduct that Plaintiffs engage in and plan to

continue to engage in—which the Act expressly authorizes officers to proscribe—is

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“approaching the scene of newsworthy events,” Compl. ¶ 49 (emphasis added), and “engag[ing]

in peaceful, nonobstructive newsgathering within 25 feet of law enforcement officers,” id. ¶ 59

(emphasis added). Defendants do not (and could not reasonably) dispute that the Act regulates

that conduct. And that settles that Plaintiffs have standing to press their facial First Amendment

challenge, because, as discussed in more detail below, the First Amendment protects not just

documenting an event but also “approaching” it “to carry out plaintiffs’ protected monitoring and

recording.” Brown v. Kemp, 86 F.4th 745, 779 (7th Cir. 2023); see Jordan v. Jenkins, 73 F.4th

1162, 1170 (10th Cir. 2023) (same). Further, Plaintiffs’ reporters often receive instructions or

‘back up’ in the course of their reporting, see, e.g., Decl. of Richard Erbach (“Erbach Decl.”),

ECF No. 19-6 ¶¶ 10, 17; Decl. of Nicole Waivers (“Waivers Decl.”), ECF No. 19-7 ¶ 15—

interactions now backed by the threat of arrest, see Reporters Committee, 2024 WL 4333137, at

*4 (finding “fear of enforcement is well-founded” under identical law where plaintiffs proferred

evidence that “their journalists ha[d] been asked to move back by law enforcement officers while

gathering news” before the law’s enactment). Plaintiffs have standing to challenge a law that

regulates protected First Amendment activity that they engage in on a routine daily basis.

             ii.       Plaintiffs have standing to bring an as-applied First Amendment claim.

       The analysis for Plaintiffs’ as-applied First Amendment claim is similar. Recapitulating

their ripeness argument, Defendants claim a “developed factual record” of a particular

enforcement action is necessary to adjudicate an as-applied pre-enforcement challenge. Defs.’

Opp. at 8 (quoting Justice v. Hoseman, 771 F.3d 285, 292 (5th Cir. 2014)).2 But the Supreme


2        Defendants also make a one-sentence suggestion that Plaintiffs lack prudential standing
to raise the rights of their employees. Even if this argument were sufficiently developed to avoid
forfeiture—it is not—Fifth Circuit precedent makes clear that news organizations have standing
in their own right to challenge burdens on their journalists. See In re Express News-Corp., 695
F.2d 807, 808 & n.1 (5th Cir. 1982) (holding that both reporter and employer organization had
standing to challenge a court rule that restricted their newsgathering).

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Court repeatedly has found that “as-applied preenforcement challenge[s] brought under the First

Amendment” are “suitable for judicial review” even where there a statute has never previously

been enforced against the plaintiff. Humanitarian Law Project, 561 U.S. at 16. The record need

only be sufficient to determine whether, “as applied to plaintiffs[,] the conduct triggering

coverage under the statute” implicates the protections of the First Amendment, id. at 28, and,

next, whether the statute satisfies the relevant degree of constitutional scrutiny as applied to “the

particular speech plaintiffs propose to undertake,” id. at 36. The same rule applies here.

        Nothing in Justice v. Hoseman, 771 F.3d 285 (5th Cir. 2014), suggests otherwise. There,

a group of plaintiffs challenged a $200 cap on political donations but refused to say how much

they wanted to spend; in fact, the record on that question was not just “scant” but internally

“inconsistent.” Id. at 293. As a result, the court could not know whether an injunction should

allow the plaintiffs to spend $300, $500, $800, or some other amount. See id. at 294. Here,

though, Defendants have identified no “uncertainty” in the Complaint’s description of Plaintiffs’

proposed course of conduct, id. at 294, that would make an as-applied remedy difficult to

fashion. Here, the Court’s order writes itself: An injunction would prohibit the Defendants from

enforcing the Act against Plaintiffs for “peaceful, nonobstructive newsgathering within 25 feet of

law enforcement officers performing their duties in public spaces,” Compl. ¶ 59, but would

preserve Defendants’ ability to enforce the Act for “behavior that obstructs or interferes with

effective law enforcement or the protection of public safety,” Alvarez, 679 F.3d at 607 (ordering

entry of injunction adopting that distinction for as-applied preenforcement newsgathering claim).

        For this claim, too, Defendants’ insistence that a more developed factual record is

necessary is a red herring; the reality is that the analysis of Plaintiffs’ as-applied First

Amendment claim is easy, because newsgathering “that is not disruptive of public order or




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safety, and carried out by people who have a legal right to be in a particular public location and

to watch and listen to what is going on around them” cannot be prohibited consistent with the

First Amendment. Id. at 606. The existing record before this Court already proves as much.

            iii.       Plaintiffs have standing to challenge the Act on vagueness grounds.

       Defendants’ challenge to Plaintiffs’ standing to bring a claim under the Due Process

Clause is likewise meritless. Even setting aside the fact that another federal court, in a virtually

identical challenge to an identical law, found that some of the same Plaintiffs here had standing

to bring a (successful) vagueness claim, see Reporters Committee, 2024 WL 4333137, at *3,

Defendants’ argument rests on the misplaced insistence that “[a] plaintiff who has ‘never been

arrested or prosecuted for violating’ a criminal statute ‘lack[s] standing to preemptively

challenge [it] under the Due Process Clause.’” Defs.’ Opp. at 10 (quoting Nat’l Press

Photographers Ass’n v. McCraw (Press Photographers), 90 F.4th 770, 782 (5th Cir. 2024)).

Press Photographers says no such thing, and that rule would flatly violate Supreme Court

precedent. See Humanitarian Law Project, 561 U.S. at 15–18 (finding preenforcement

vagueness challenge “suitable for judicial review,” id. at 15, and reiterating that plaintiffs

“should not be required to await and undergo a criminal prosecution” to demonstrate Article III

standing, id. at 16 (quoting Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 298

(1979))).

       In Press Photographers, plaintiffs could not demonstrate standing because they provided

no evidence that the challenged law had been enforced against them “or anybody else,” 90 F.4th

at 782, even though the law they challenged had been enacted “a decade ago,” id. at 777—in

other words, the statute was moribund. That reasoning does Defendants no good in a challenge

to a statute that is “recent and not moribund.” Doe v. Bolton, 410 U.S. 179, 188 (1973),

abrogated on other grounds by Dobbs v. Jackson Women’s Health Org., 597 U.S. 215 (2022)).

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On that footing, the most important argument in Defendants’ opposition is the one they

studiously do not make: They have “not argued to this Court that plaintiffs will not be

prosecuted if they do what they say they wish to do,” Humanitarian Law Project, 561 U.S. at

16—only that doing so is not Defendants’ top priority, see Moore Decl. ¶ 11. And in insisting

that the Act has no “exception for newsgathering,” Defs.' Opp. at 25, Defendants have

demonstrated a willingness to enforce it against Plaintiffs’ proposed course of conduct. Just as in

Humanitarian Law Project, that suffices to demonstrate that Plaintiffs’ have standing to

challenge the Act’s vagueness.

         C.     All Defendants are proper parties.

         As a last obstacle to reaching the merits, Defendants argue they are the wrong parties to

defend the Act, either because they are not responsible for its chilling burdens on Plaintiffs, see

Defs.’ Opp. at 8–9, or because Defendants Murrill and Hodges—but notably not Defendant

Moore3—are immune from suit, see Defs.’ Opp. at 11–14. On each count, Defendants are

wrong.

         First, Defendants incorrectly insist that the Complaint did not link Plaintiffs’ injury to

these particular Defendants. It did. See Compl. ¶¶ 23–25 (identifying Defendants Murrill and

Moore as the relevant prosecuting authorities for violations of the Act and describing

circumstances in which Defendant Hodges’ State Police can enforce the Act against Plaintiffs’

journalists). Throughout the Complaint and their reporters’ declarations, Plaintiffs have

described situations in which they approach within 25 feet of the State Police and/or other law

enforcement officers, including where Defendants Murrill and Moore would be the relevant

prosecuting authorities—all of which are circumstances in which the Act now puts Plaintiffs to


3      See, e.g., Hudson v. City of New Orleans, 174 F.3d 677, 679 (5th Cir. 1999) (holding that
the Orleans Parish District Attorney’s Office is not entitled to sovereign immunity).

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an unconstitutional choice between risking arrest or prosecution by these Defendants or

refraining from exercising their rights. See, e.g., Compl ¶¶ 27–29; Waivers Decl. ¶¶ 8–12; Decl.

of Katherine Fernelius (“Fernelius Decl.”), ECF No. 19-4 ¶11; Erbach Decl. ¶ 5. An injunction

prohibiting each Defendant from enforcing the Act against Plaintiffs would directly redress that

injury and relieve the Act’s chilling effect on Plaintiffs’ newsgathering. See Press

Photographers, 90 F.4th at 785 (traceability and redressability satisfied where preenforcement

challengers to a criminal statute sue “those who would arrest them” and the officials “charged

with prosecuting individuals who violate criminal law”). That is textbook traceability and

redressability for purposes of Article III.

       Defendants’ arguments fare no better as a case for immunity for Defendants Murrill and

Hodges. Again, Defendants return to the same point: that the Act has not yet been enforced

against Plaintiffs. But the Fifth Circuit has held that “[a] history of prior enforcement is not

required” to invoke the Ex Parte Young exception to sovereign immunity, “especially in the pre-

enforcement context that applies here.” Mi Familia Vota v. Ogg, 105 F.4th 313, 330 (5th Cir.

2024); see also Calhoun v. Collier, 78 F.4th 846, 851 (5th Cir. 2023) (holding that “actual threat

of or imminent enforcement is not required” to satisfy Ex Parte Young in the preenforcement

context (citation omitted)). Plaintiffs need only show that Defendants Murrill and Hodges have

“a particular duty to enforce the statute in question,” id. at 325 (citation omitted); “some

scintilla” of willingness to do so, id. at 329 (citation omitted), which can be shown through a

refusal to “disavow[] enforcement,” Comput. & Commc’ns Indus. Ass’n v. Paxton (CCIA), No.

1:24-cv-849, 2024 WL 4051786, at *6 (W.D. Tex. Aug. 30, 2024); and the power to enforce the

Act through “compulsion or constraint,” Press Photographers, 90 F.4th at 786 (citation omitted).

All three requirements are satisfied.




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       Defendant Hodges and the State Police have a specific statutory “dut[y]” to “enforce the

criminal and traffic laws of the state,” La. R.S. 40:1379(A). This includes the Act, and the Fifth

Circuit has squarely held that parallel “heads of Texas law-enforcement agencies” are proper

parties in a challenge analogous to this one because “they are directly responsible for enforcing

Texas’s criminal laws.” Press Photographers, 90 F.4th at 786. Moreover, Defendant Hodges is

responsible for enforcing “the particular statutory provision that is the subject of the litigation,”

Mi Familia Vota, 105 F.4th at 327 (citation omitted), because the Act specifically defines him

and other members of State Police as “peace officers” authorized to issue orders under the Act,

La. R.S. 14:109(B); id. 40:2402(3). And, notably, Defendant Hodges has demonstrated

willingness to enforce HB 173, refusing in this very litigation to “disavow[] enforcement,”

CCIA, 2024 WL 4051786, at *6, and insisting instead that the Act has no “exception” for

newsgathering. Defs. Opp. at 25. The fact that troopers “arrest people for violating [Louisiana]

law,” meanwhile, satisfies the requirement that he “exercis[e] compulsion or constraint in service

of the law.” Press Photographers, 90 F.4th at 786 (internal quotation marks omitted).

Defendant Hodges is a proper defendant in this case.

       Defendant Murrill likewise cannot retreat behind sovereign immunity. Defendants

emphasize that “the Attorney General only has the authority to advise and assist in the

prosecution of a criminal case upon request of a district attorney,” Defs.’ Opp. at 12–13 (quoting

White Hat v. Landry, 475 F. Supp. 3d 532, 549 (M.D. La. 2020)), but that is just what has

already happened in New Orleans: Defendant Murrill’s cooperative agreement with the Orleans

Parish District Attorney formally invokes Article IV, Section 8 of the Louisiana Constitution to

request that the Attorney General step into the District Attorney’s shoes for any cases involving

Louisiana State Police. See Louisiana Attorney General’s Office and Orleans Parish District




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Attorney’s Office Cooperative Endeavor Agreement at 1 (Feb. 5, 2024), https://perma.cc/7E2Z-

W4QP. What’s more, that agreement creates not just a power but a duty. In it, Defendant

Murrill specifically “agrees to [] prosecute any and all criminal matters that stem from an

investigation or arrest made by (or with the assistance of) the Louisiana State Police . . . in the

Parish of Orleans.” Id. at 2. And the same language necessarily makes clear that Defendant

Murrill—who, like Defendant Hodges, declines to “disavow[] enforcement,” CCIA, 2024 WL

4051786, at *6—has demonstrated a willingness to enforce the Act when State Police make

arrests under it in New Orleans. She cannot avoid responsibility for her role in enforcing HB

173, and it is easy to identify the “specific actions” of hers “that this Court can enjoin” to prevent

a violation of the Constitution, Book People, Inc. v. Wong, 91 F.4th 318, 335 (5th Cir. 2024):

enforcement of the Act against Plaintiffs for gathering the news within 25 feet of State Police in

New Orleans. This Court should set aside Defendants’ efforts to avoid a decision on the merits

of Plaintiffs’ claims.

II.     HB 173 is void for vagueness.

        While HB 173’s burdens on Plaintiffs’ exercise of First Amendment rights are grave, the

most straightforward basis for enjoining enforcement of the Act is vagueness. Defendants do not

dispute the governing standard for that analysis, see Defs.’ Opp. at 24 (agreeing that a criminal

statute is unconstitutional “if it (1) ‘fail[s] to provide the kind of notice that will enable ordinary

people to understand what conduct it prohibits’ or (2) ‘authorize[s] and even encourage[s]

arbitrary and discriminatory enforcement,’” (quoting Morales, 527 U.S. at 56 (plurality

opinion)), and the Act cannot survive review under either prong of that test, see Reporters

Committee, 2024 WL 4333137, at *11 (enjoining an identical statute as void for vagueness).

        The Act’s fatal vagueness is starkest with respect to the second requirement. As the

Supreme Court has explained, a lawful-order statute impermissibly authorizes arbitrary and

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discriminatory enforcement—even if one would know how to comply after receiving an order—

if the law “does not provide any guidance to the officer deciding whether such an order should

issue” in the first place. Morales, 527 U.S. at 62; see also Agnew v. District of Columbia, 920

F.3d 49, 59–60 (D.C. Cir. 2019) (where statute fails to provide guidance for officers in deciding

when to issue a move-on order, “[a] person’s knowing failure to obey such an order could do

nothing either to cure the officer’s lawless discretion or to establish the individual’s culpability”).

        Here, Defendants do not appear to dispute that, under HB 173, “an officer may give a

retreat order for any or no reason without any standards,” Defs.’ Opp. at 25. The entirety of their

response to that dispositive legal question, worth quoting in full here, is that it:

        ignores the reality of law enforcement in regards to every criminal statute: As
        always, enforcement requires the exercise of some degree of police judgment. So,
        too, does Act 259.

Id. at 25 (internal citation and quotation marks omitted). But that response is nothing more than

a concession that Defendants cannot find any “guidance to the officer deciding whether such an

order should issue” in the text of the Act itself. Morales, 527 U.S. at 62. It is irreconcilable, too,

with Defendants’ claim, in the same breath, that the Act does not “contain some subjective call

for an officer to make.” Defs.’ Opp. at 25. That is precisely what the Act calls for: Under HB

173, law enforcement officers must find some way to decide which of the staggering number of

Louisianans who pass within 25 feet of them at some point each day should be ordered to retreat

on pain of arrest and criminal prosecution. See Reporters Committee, 2024 WL 4333137, at *8–

9. But the Act says nothing about how officers should make that decision. Whether to disperse

all, some, or none of the individuals who approach within 25 feet of them—for any reason or no

reason—is a question left to the “moment-to-moment judgment of the policeman on his beat.”




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Kolender, 461 U.S.at 360. That failure to “establish minimal guidelines to govern law

enforcement” sets forth a textbook Due Process violation. Id. at 358 (citation omitted).

       If that were not enough, the Act is independently vague for failure to provide fair notice.

While Defendants assert the Act “precisely defines ‘the behavior that prompts a lawful dispersal

order’—knowingly approaching within 25 feet of a law enforcement officer that has issued an

order to stand back,” Defs.’ Opp. at 24 (quoting Bell v. Keating, 697 F.3d 445, 462 (7th Cir.

2012) (emphasis added)), that formula is circular. It does nothing to notify members of the

public, including Plaintiffs’ journalists, when an order to stand back will (or won’t) issue, and

“[s]uch an order cannot retroactively give adequate warning of the boundary between the

permissible and the impermissible,” Morales, 527 U.S. at 59 (plurality opinion); see also id. at

69 (Kennedy, J., concurring in part and concurring in the judgment) (where a statute “would

reach a broad range of innocent conduct . . . it is not necessarily saved by the requirement that

the citizen must disobey a police order to disperse before there is a violation”). Were the law

otherwise, a statute that read “do what any officer tells you to do” would provide fair notice of its

reach despite affording individuals no ability to conduct themselves so as to avoid receiving an

order backed by the threat of arrest and criminal prosecution. Because the Act does not “warn

what kind of behavior might cause an officer to issue a stay back order” in the first place,

Reporters Committee, 2024 WL 4333137, at *8, it fails to provide fair notice in violation of due

process.

       These basic principles decide this case—even without reference to the Act’s serious First

Amendment harms. See Morales, 527 U.S. at 52–53 (plurality opinion) (noting that the

ordinance invalidated as void-for-vagueness in Morales did not, as construed by the Illinois

Supreme Court, regulate First Amendment activity and was not overbroad in a First Amendment




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sense); see also Reporters Committee, 2024 WL 4333137, at *8. This Court need not even reach

the question whether the Act regulates First Amendment activity—it does—to conclude that

Louisiana lawmakers cannot abdicate their duty to “establish minimal guidelines to govern law

enforcement.” Kolender, 461 U.S. at 358 (citation omitted). The Act is void for vagueness.

       A.      HB 173 violates the First Amendment.

       For related though ultimately independent reasons, the Act is unconstitutional because it

poses an “ever-present potential for arbitrarily suppressing First Amendment liberties,”

Shuttlesworth, 382 U.S. at 91, including the peaceful, non-obstructive newsgathering that

Plaintiffs’ journalists carry out daily. Defendants’ arguments to the contrary are without merit.

       B.      HB 173 violates the First Amendment as applied to Plaintiffs’ peaceful,
               nonobstructive newsgathering within twenty-five feet of a peace officer.

       Defendants’ main defense of the Act is that it regulates conduct rather than speech or

newsgathering—that the law is “a movement restriction, not a speech restriction.” Defs.’ Opp. at

16. But that distinction has no stakes: Every court to address the issue, including the Supreme

Court, agrees that police orders to move directly implicate the First Amendment even when they

make no reference to speech or recording. See Shuttlesworth, 382 U.S. at 90–91 (statute making

it “unlawful for any person to stand or loiter upon any street or sidewalk . . . after having been

requested by any police officer to move on” posed an “ever-present potential for arbitrarily

suppressing First Amendment liberties”); see also, e.g., World Wide Street Preachers Fellowship

v. Town of Columbia, 245 F. App’x 336, 341–42 (5th Cir. 2007) (order to move demonstration

subject to First Amendment scrutiny). 4 And for good reason. What Defendants prefer to call


4
       See also, e.g., Marcavage v. City of Chicago, 659 F.3d 626, 631 (7th Cir. 2011) (First
Amendment scrutiny applied to “officers’ directives to keep moving”); Reed v. Lieurance, 863
F.3d 1196, 1211–12 (9th Cir. 2017) (same); Hulbert v. Pope, 70 F.4th 726, 733–34 (4th Cir.
2023) (same); Pouillon v. City of Owosso, 206 F.3d 711, 717–18 (6th Cir. 2000) (same).


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‘movement restrictions’ also necessarily “restrict[] access to traditional public fora and [are]

therefore subject to First Amendment scrutiny.” McCullen v. Coakley, 573 U.S. 464, 476

(2014).

          The Supreme Court’s decision in McCullen v. Coakley is controlling. There, a

Massachusetts law that prohibited “knowingly enter[ing] or remain[ing]” within 35 feet of health

care facilities was challenged by plaintiffs who wanted to “approach[]” in order to speak to

patients. Id. at 471–72. The Supreme Court explained that “even though the [challenged law]

sa[id] nothing about speech on its face,” it necessarily “restrict[ed] access to traditional public

fora and [was] therefore subject to First Amendment scrutiny.” Id. at 476. But if controlling

precedent were not enough, common sense would lead to the same result. Dispersal-order

statutes cannot escape First Amendment review because “if police could stop criticism or filming

by asking onlookers to leave, then this would allow the government to simply proceed upstream

and dam the source of speech—i.e., it would allow the government to bypass the Constitution.”

Jordan, 73 F.4th at 1170 (citations, alterations, and internal quotation marks omitted). And for

just that reason, courts have consistently concluded that the First Amendment protects not just

monitoring or recording as such but also “approaching” a newsworthy event in order “to carry

out plaintiffs’ protected monitoring and recording.” Brown, 86 F.4th at, 779; see also Jordan, 73

F.4th at 1169 (“[S]ince the First Amendment protects the right to criticize police, then a fortiori

it protects the right to remain in the area to be able to criticize the observable police conduct.”). 5




5
        Press Photographers likewise does nothing to help Defendants on this point. A statute
that prohibits flying a drone “over a prison, sports venue, or critical infrastructure” does nothing
to implicate access to (or activities in) traditional public fora, Press Photographers, 90 F.4th at
787, while a statute providing that Louisianans may “stand on a public sidewalk . . . only at the
whim of any police officer” plainly does, Shuttlesworth, 382 U.S. at 90.

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       Defendants’ insistence that the Act does not mention “newsgathering, recording,

photographing, or documenting,” Defs.’ Opp. at 16, therefore misses the point. Plaintiffs never

argued that it did, and it need not to directly threaten the exercise of First Amendment rights.6

The Constitution is not as trivially circumvented as Defendants wish; dispersal-order statutes like

the Act implicate the First Amendment directly, not incidentally. See Bell, 697 F.3d at 456–57.

       Because the Act regulates First Amendment activity, the Court must then determine

whether it is content-based or content-neutral. But Defendants’ opposition largely fails to

grapple with Plaintiffs’ arguments on that question. For one, they ignore the reality that statutes

that delegate standardless discretion to regulate First Amendment activity can never qualify as

content-neutral. See Forsyth County v. Nationalist Movement, 505 U.S. 123, 133 n.10 (1992)

(“[T]he success of a facial challenge on the grounds that an ordinance delegates overly broad

discretion to the decisionmaker rests not on whether the administrator has exercised his

discretion in a content based manner, but whether there is anything in the ordinance preventing

him from doing so.”); see also, e.g., Smith v. Exec. Dir. of Ind. War Mem’ls Comm’n, 742 F.3d

282, 289 (7th Cir. 2014) (noting that, “[t]o qualify as content-neutral,” a law “cannot invest

unbridled discretion” that could be used to discriminate on the basis of content (citation and

internal quotation marks omitted)). And, consistent with their failure to identify any limits on

officers’ discretion in response to Plaintiffs’ vagueness claim, Defendants also fail to identify

any constraints in the Act that would prevent officers from “exercis[ing] [their] discretion in a

content based manner.” Forsyth County, 505 U.S. at 133 n.10; cf. Reporters Committee, 2024

WL 4333137, at *9 (noting that, under identical Indiana statute, “an officer can order reporters




6
        Nor do any of the basic constitutional principles above turn on a “special status” for
journalists that Plaintiffs have never asserted, id. at 17—Shuttlesworth was not a press case.

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and others to move back simply because the officer does not want to be recorded, an

unacceptable curtailment of First Amendment rights”). The statute therefore triggers strict

scrutiny.

       The Act also has “a content-based purpose or justification,” City of Austin v. Reagan

Nat’l Advert. of Austin, LLC, 596 U.S. 61, 69 (2022), an analysis that looks not just to its text but

also to its statutory context and “inevitable effect,” Sorrell v. IMS Health Inc., 564 U.S. 552, 565

(2011); see also City of Houston v. Hill, 482 U.S. 451, 459–60 (1987) (rejecting characterization

of police obstruction statute as “content-neutral” where in practice “the enforceable portion of

the ordinance . . . prohibit[ed] verbal interruptions of police officers” (emphasis added)). In

Brown v. Kemp, for instance, the Seventh Circuit considered a First Amendment challenge to a

Wisconsin ban on “approaching” hunters. 86 F.4th at 753. Contrary to Defendants’ insistence

that regulation of physical proximity is never content-based, the Seventh Circuit held the

challenged law to be not only content- but also viewpoint-based, because its “only evident

purpose” in statutory context was “to expand [liability] to reach expressive activity that does not

involve physical interference” and thereby discourage observing certain subjects. Id. at 782

(emphasis added). The same is true here, where Defendants’ list of hypothetical uses of the Act

is stuffed with scenarios that are already addressed by existing law because they involve

obstruction of either “a lawful arrest, lawful detention, or seizure of property or [service of] any

lawful process,” La. R.S. 14:108(A), or “investigative work at the scene of a crime or the scene

of an accident,” La. R.S. 14:329(A).7 Against that statutory backdrop, the Act serves only one

primary purpose: to suppress observation of law enforcement.




7       Compare also, e.g., Defs.’ Opp. at 22 (arguing the Act is necessary for cases where “[a]n
officer pulls over a vehicle and instructs a curious fellow motorist to stay back”), with Terrell v.

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        Regardless, Defendants’ insistence that HB 173 is not content-based is largely academic

because the Act cannot survive any degree of First Amendment scrutiny. Even under

intermediate scrutiny, Defendants would need to demonstrate that the Act’s application to

Plaintiffs’ proposed course of conduct is “narrowly tailored to serve a significant government

interest,” Reed, 863 F.3d at 1211, and would leave open “alternative observation

opportunities[,]” id. at 1212; see also In re Express-News Corp., 695 F.2d at 808–09 (“[A]n

inhibition of press news-gathering rights must be necessitated by a compelling governmental

interest, and . . . narrowly tailored to serve that interest.” (citation and internal quotation marks

omitted)). Defendants have not even attempted that showing here: They merely list various

government interests they think the Act might implicate on other facts, but the relevant question

for Plaintiffs’ as-applied challenge is whether the statute advances those interests—and is

narrowly tailored to them—as applied to “the particular speech plaintiffs propose to undertake,”

Humanitarian Law Project, 561 U.S. at 36 (emphasis added); see also, e.g., Serafine v.

Branaman, 810 F.3d 354, 361–62 (5th Cir. 2016) (measuring the strength of the state’s interest

and narrow tailoring relative to the particular plaintiff’s speech for purposes of as-applied claim).

        Defendants do not—and could not—demonstrate that any of the abstract interests they

cite are at stake when Plaintiffs engage in peaceful, nonobstructive newsgathering within 25 feet

of peace officers. See Defs.’ Opp. at 18–19. There is no legitimate interest in criminalizing

journalism that is “not disruptive of public order or safety, and carried out by people who have a

legal right to be in a particular public location and to watch and listen to what is going on around

them.” Alvarez, 679 F.3d at 606; see also Glik v. Cunniffe, 655 F.3d 78, 84 (1st Cir. 2011)




Allgrun, 114 F.4th 428, 436 (5th Cir. 2024) (upholding arrest under La. R.S. 14:97 where
bystander obstructed a roadway in order to record an officer).

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(“peaceful recording . . . that does not interfere with the police officers’ performance of their

duties is not reasonably subject to limitation”). Neither can Defendants establish that mere

presence within 25 feet of an officer, without more, amounts to obstruction. And despite

Defendants’ effort to distinguish the case away, the Fifth Circuit has expressly addressed “How

close is ‘too close’ such that the filming, however well-intentioned, becomes hazardous[?]” in

Perkins v. Hart, No. 22-30456, 2023 WL 8274477, at *7 (5th Cir. Nov. 30, 2023) (citation

omitted). There, the court concluded that a bystander who was “just a few feet away,” id. at *8

(Ho, J., dissenting), was “not too close” and therefore protected by the First Amendment, id. at

*7 (majority opinion). To Plaintiffs’ knowledge, every other court to address the issue has

agreed. See Glik, 655 F.3d at 84 (individual filming from “roughly ten feet away” was at “a

comfortable remove” (citation omitted)); Ariz. Broads. Ass’n v. Brnovich, 626 F. Supp. 3d 1102,

1106 (D. Ariz. 2022) (restriction on filming within eight feet not narrowly tailored). And,

remarkably, Defendants’ opposition brief is entirely silent on the question of why Louisiana

picked a twenty-five foot forcefield; the state has submitted no evidence of any kind in support

of its preferred distance. It is difficult to imagine a more pronounced failure of narrow tailoring.

       Finally, the statute independently fails intermediate scrutiny because it fails to leave open

adequate alternative channels of communication, an issue Defendants’ opposition does not

address. Plaintiffs’ uncontested evidence establishes that 25 feet is too great a distance to

reliably record audio or conduct interviews, see Thibodeaux Decl. ¶ 7; Sprang Decl. ¶ 4;

Fernelius Decl. ¶¶ 5–6; see also Schenk v. Pro-Choice Network of W. N.Y., 519 U.S. 357, 377–78

(1997) (15-feet is beyond “normal conversational distance”), and too great a distance to obtain

an unobstructed view, see Erbach Decl. ¶ 6; Sprang Decl. ¶ 3; Thomas Decl. ¶ 4; Fernelius Decl.

¶ 9. Having offered no response, Defendants have failed to carry their burden to demonstrate




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that the Act can survive any degree of First Amendment scrutiny. See Garden Dist. Book Shop,

Inc., 184 F. Supp. 3d at 337–38 (even in preliminary-injunction posture, “the State bears the

burden of proving” that a law satisfies First Amendment scrutiny).

       C.      HB 173 violates the First Amendment on its face.

       Finally, the Act likewise violates the First Amendment on its face—under any plausibly

relevant degree of scrutiny—because it “vests unbridled discretion in a government official over

whether to permit or deny expressive activity.” City of Lakewood, 486 U.S. at 755.8 That defect

infects every application of the Act; that Defendants can imagine a short list of good uses for the

statute is irrelevant, because the suggestion that officers “will act in good faith and adhere to

standards absent from the ordinance’s face” is “the very presumption that the doctrine forbidding

unbridled discretion disallows.” Id. at 770. And, as the Supreme Court and Fifth Circuit have

made clear, precedent favors facial challenges in that context, see id., because the chilling effect

of standardless discretion “risks self-censorship and creates proof problems in as-applied

challenges,” Freedom from Religion Found. v. Abbott, 955 F.3d 417, 427 (5th Cir. 2020).

       Regardless, comparing “the number of unconstitutional applications” to “the total number

of possible applications,” Moody v. NetChoice, 144 S. Ct. 2383, 2430 (2024) (Alito, J.,

concurring), makes the statute’s unconstitutionality just as clear. A more complete list of the

Act’s applications than the one Defendants offer, see Defs.’ Opp. at 22, would need to include:

       •    An officer issues a retreat order because it is Monday;


8       Defendants frame the question as one of overbreadth, which is a misnomer here. See
Doe 1 v. Landry, 909 F.3d 99, 108–109 (5th Cir. 2018) (distinguishing overbreadth, where
“plaintiffs whose rights are not violated” raise the rights of third parties, from the question
whether a statute satisfies the relevant degree of First Amendment scrutiny on its face). But the
point is largely academic, because a statute that does not satisfy intermediate scrutiny—to say
nothing of strict scrutiny—is necessarily overbroad. See id. at 111; see also, e.g., Bell, 697 F.3d
at 453 n.2 (when a law fails the relevant degree of First Amendment scrutiny on its face, “there
exists no possible application of that law consistent with the First Amendment’s guarantees”).

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       •   An officer issues a retreat order because it is Friday;

       •   An officer issues a retreat order because the moon is full;

       •   An officer issues a retreat order because the tides are low;

       •   An officer “order[s] reporters and others to move back simply because the officer
           does not want to be recorded,” Reporters Committee, 2024 WL 4333137, at *9;

The list could go on. Those unconstitutional applications are infinite because the law contains no

standards of any kind to channel law enforcement officers’ discretion towards the interests that

Defendants claim the Act is intended to serve. Put differently, the Act is unconstitutional on its

face because nothing in its plain text asks whether an individual’s presence within 25 feet

“risk[s] substantial harm or if dispersal is otherwise necessary” to serve any legitimate interest.

Bell, 697 F.3d at 459 (invalidating a dispersal-order statute on its face on that ground).

       Even setting City of Lakewood’s bar on standardless discretion aside, Defendants have no

argument that HB 173 is adequately tailored. They make no attempt to show that “alternative

measures that burden substantially less speech would fail to achieve the government’s interests.”

McCullen, 573 U.S at 495. Nor have they attempted to demonstrate that Louisiana “seriously

undertook to address the problem with less intrusive tools . . . that other jurisdictions have found

effective,” id. at 494, since, as noted above, the only other state to pass a law like Louisiana’s—

Indiana—has already seen it enjoined, see Randall v. Sorrell, 548 U.S. 230, 253 (2006) (plurality

opinion) (noting that the fact that there are no “comparable limits in other States” represents a

“danger sign[]” that a statute “may fall outside tolerable First Amendment limits”). Defendants

have not explained, either, why “available generic criminal statutes” cannot address whatever

interest the Act purportedly serves. McCullen, 573 U.S. at 492. As canvassed above,

Defendants’ list of situations in which they imagine the Act would be helpful appears to consist

entirely of scenarios covered by other laws. Compare, e.g., Defs.’ Opp. at 23 (arguing that


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background Louisiana law leaves officers with no power to address bystanders approaching “a

drunken assailant at a music festival”), with Terrell, 114 F.4th at 437 (upholding arrest under La.

R.S. 14:329(A) for obstructing law enforcement officers’ efforts to deal with an intoxicated

individual). And as also already discussed above, Defendants have submitted no evidence of any

kind to support the proposition that their 25-foot forcefield is necessary to advance any

legitimate government interest they assert, despite the clear weight of authority—in and out of

this jurisdiction—holding that an individual’s bare proximity to a law enforcement officer does

not justify restricting the exercise of First Amendment rights. See Perkins, 2023 WL 8274477, at

*7; Glik, 655 F.3d at 84; Ariz. Broads. Ass’n, 626 F. Supp. 3d at 1102.

        In sum, because the Act’s standardless sweep carries an “ever-present potential for

arbitrarily suppressing First Amendment liberties,” it violates the First Amendment on its face.

Shuttlesworth, 382 U.S. at 91. This Court should enjoin the statute’s enforcement.

III.    A preliminary injunction should issue.

        Where First Amendment rights are at stake, “likelihood of success on the merits”—

already “arguably the most important factor” in the analysis, Netflix, Inc. v. Babin, 88 F.4th

1080, 1099 (5th Cir. 2023)—is typically dispositive because “[t]he loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury,” and

“[i]njunctions protecting First Amendment freedoms are always in the public interest,” Book

People, Inc., 91 F.4th at 341 (citations omitted); see also Reporters Committee, 2024 WL

4333137, at *11 (preliminary-injunction factors favored relief from identical Indiana law in

identical posture). Here, Defendants have no arguments against entry of a preliminary injunction

that do not simply recapitulate their merits arguments. See Defs.’ Opp. at 25–27. But as

explained in Plaintiffs’ initial motion, an injunction against the Act’s chilling burdens would




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serve the public interest by safeguarding the function of a free press in Louisiana. This Court

should issue one.

                                        CONCLUSION

       For the reasons set forth above and in their motion for a preliminary injunction, Plaintiffs

respectfully request that the Court deny Defendants’ motion to dismiss and issue a preliminary

injunction prohibiting Defendants from enforcing the Act against Plaintiffs.

Dated: November 14, 2024                     Respectfully submitted,

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